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                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                             September 05, 2019
                                 IN THE UNITED STATES DISTRICT COURT
                                                                              David J. Bradley, Clerk
                                 FOR THE SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION

EMMA MENDOZA, et al.,                               §
       Plaintiffs,                                  §
                                                    §
v.                                                  §      CIVIL ACTION NO. H-19-0225
                                                    §
STORM TIGHT WINDOWS OF                              §
TEXAS, INC.,                                        §
          Defendant.                                §

                                             DISMISSAL ORDER

           In accordance with the parties’ Stipulated Dismissal Pursuant to Fed. R. Civ.

P. 41(a)(1)(A)(ii) [Doc. # 19], it is hereby

           ORDERED that this case is DISMISSED WITH PREJUDICE.

           SIGNED at Houston, Texas, this 5th day of September, 2019.




                                                          NAN Y F. ATLAS
                                                 SENIOR UNI   STATES DISTRICT JUDGE




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